Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 1 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 2 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 3 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 4 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 5 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 6 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 7 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 8 of 9
Case 2:21-bk-16674-ER   Doc 19 Filed 09/07/21 Entered 09/07/21 23:20:01   Desc
                         Main Document    Page 9 of 9
